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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                       :
                                                :
        v.                                      : CRIM. NO. RDB-14-0186
                                                : CIVIL NO. RDB-19-2312
RICHARD BYRD,                                   :
         Defendant.                             :
                                           ...ooOoo...

    GOVERNMENT’S OPPOSITION TO DEFENDANT’S CORRECTED MOTION
      TO VACATE, SET ASIDE, OR CORRECT SENTENCE PURSUANT TO
                            28 U.S.C. § 2255

        The United States of America, by and through its undersigned attorneys, respectfully

submits the following opposition to Defendant Richard Byrd’s Corrected Motion to Vacate, Set

Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (“Motion to Vacate” or “Mot.”).

   I.        BACKGROUND

        On April 14, 2014, the grand jury returned the Indictment charging Defendant Richard

Byrd and two co-defendants with Conspiracy to Distribute and Possess with Intent to Distribute

Cocaine and Marijuana in violation of 21 U.S.C. § 846. Defendant was arrested in Arizona and

made his initial appearance in the District of Maryland on June 3, 2014. During this time period,

Defendant was represented by Kenneth Ravenell. On July 24, 2014, the grand jury returned the

Superseding Indictment adding co-defendants and a charge of Conspiracy to Commit Money

Laundering in violation of 18 U.S.C. § 1956(h) (ECF 41). The Court entered an Order scheduling

trial to begin in March 2015 (ECF 50). In October 2014, new counsel entered appearances to

represent Defendant by appointment under the Criminal Justice Act (“CJA”) (ECF 94, 99). On

October 25, 2015, the grand jury returned the Second Superseding Indictment (ECF 231). A jury

trial was re-scheduled multiple times between January 2015 and September 2016, when it was re-

scheduled to begin in November 2016.

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         On March 22, 2016, Attorney David Solomon entered his appearance to represent

Defendant by CJA appointment (ECF 280). In July 2016, Attorney Solomon filed numerous

pretrial motions on Defendant’s behalf. After a hearing in August 2016, the Court entered an

Order denying the motions, some on the merits and others as moot (ECF 332).

         On September 15, 2016, Attorney Michael Lawlor entered his appearance to represent

Defendant by CJA appointment (ECF 352). At a rearraignment on November 2, 2016, Defendant

entered pleas of guilty to both counts of the Second Superseding Indictment pursuant to a plea

agreement with the Government. The plea agreement provided for a stipulated sentence of 26

years of imprisonment (26 years on Count One, to run concurrently with 10 years on Count Two)

pursuant to Fed. R. Crim. P. 11(c)(1)(C) (ECF 378 at 7). On February 9, 2017, the Court imposed

the total stipulated sentence of 312 months, to be followed by a total 10-year term of supervised

release.

         Defendant filed a Notice of Appeal on February 10, 2017. On August 9, 2018, the U.S.

Court of Appeals for the Fourth Circuit affirmed in part and dismissed the appeal in part.

         Defendant filed the Motion to Vacate on August 9, 2019. By Order dated January 15,

2020, the Government’s response was ordered to be filed on or before June 15, 2020.

   II.       PETITIONER’S CLAIMS

         In the Motion to Vacate, Defendant argues that his sentence should be vacated due to

ineffective assistance of counsel and on the following grounds: (1) Attorney Solomon failed to

advise Defendant of a plea offer; (2) Attorney Solomon had a conflict of interest; (3) Attorney

Lawlor failed to prepare for trial; (4) Attorney Lawlor had a conflict of interest; and (5) Defendant

was denied substitution of counsel the week before his trial was scheduled to begin.




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    III.      ARGUMENT

           Each ground for relief asserted in the Motion to Vacate should be denied without need for

a hearing. The Government does not dispute the factual allegations made by Defendant in his

petition. Even accepting his factual allegations as true, Defendant fails to establish he is entitled

to habeas relief.

           A. Defendant’s Claim that Attorney Solomon Failed to Convey a Plea Offer

           Defendant claims first that, while he was represented by Attorney Solomon, “the

Government made an oral representation that in exchange for a guilty plea it would recommend a

term of imprisonment of no more than 22 years[,]” and that “[t]his offer was never conveyed to

the Defendant.” Mot. 5-6. Defendant claims that Attorney Solomon’s failure to convey the

Government’s “oral representation” to him violated his right to effective assistance of counsel.

Mot. 6.

           The touchstone for evaluating a criminal defendant’s claim of ineffective assistance of

counsel is whether the conduct of his attorney fell “within the range of competence normally

demanded of attorneys in criminal cases.” Strickland v. Washington, 466 U.S. 668, 687 (1984).

In Strickland, the U.S. Supreme Court instructed that claims of ineffective assistance of counsel

are decided by the following two-prong test: “First, the defendant must show that counsel’s

performance was deficient. This requires showing that counsel made errors so serious that counsel

was not functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Id. In

other words, the criminal defendant must show that “his counsel’s performance ‘fell below an

objective standard of reasonableness’ measured by ‘prevailing professional norms[.]’” Christian

v. Ballard, 792 F.3d 427, 443–44 (4th Cir. 2015), cert. denied, 136 S. Ct. 342 (2015) (quoting

Strickland, 466 U.S. at 687, 688). Counsel’s performance is evaluated from counsel’s perspective



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at the time and is presumed to “fall[] within the wide range of reasonable professional

assistance.” Strickland, 466 U.S. at 689. “Second, the defendant must show that the deficient

performance prejudiced the defense. This requires showing that counsel’s errors were so serious

as to deprive the defendant of a fair trial, a trial whose result is reliable.” Id. at 687.

        “[A]s a general rule, defense counsel has the duty to communicate formal offers from the

prosecution to accept a plea on terms and conditions that may be favorable to the accused.”

Missouri v. Frye, 566 U.S. 134, 145 (2012). Defense counsel renders ineffective assistance when

they allow a formal plea offer to expire “without advising the defendant or allowing him to

consider it[.]” Id. To show prejudice in such a case, the defendant “must demonstrate a reasonable

probability that (1) ‘they would have accepted the earlier plea offer had they been afforded

effective assistance of counsel,’ and (2) ‘the plea would have been entered without the prosecution

canceling it or the trial court refusing to accept it . . . .’” Merzbacher v. Shearin, 706 F.3d 356,

366 (4th Cir. 2013) (quoting Frye, 566 U.S. at 147). Where the prejudiced suffered was that the

defendant “was denied the opportunity to ‘negotiate plea conditions with the government,’” the

defendant must show “an additional reasonable probability that ‘the government would have in

fact made him a particular plea offer’ in the first place.” Flood v. United States, 345 F. Supp. 3d

599, 613 (D. Md. 2018) (citation omitted).

        The purpose of the Sixth Amendment guarantee of counsel is to ensure that a defendant

has the assistance necessary to justify reliance on the outcome of the proceeding.” Id. at 691–92

(emphasis added). Unless a defendant makes a showing of both deficient performance by counsel

and prejudice, “it cannot be said that the conviction . . . resulted from a breakdown in the adversary

process that renders the result unreliable.”       Id. at 687.     Strickland sets a “high bar,” and

surmounting it “is never an easy task.” Padilla v. Kentucky, 559 U.S. 356, 371 (2010).



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       Here, Defendant cannot show that he was prejudiced by any failure by Attorney Solomon

to convey to Defendant oral statements the Government made about a potential plea agreement.

Oral statements made about potential terms of a plea offer do not constitute a formal plea offer

with an expiration date. The only prejudice Defendant could claim would be denial of an

opportunity to negotiate plea terms with the Government, but he cannot show a reasonable

probability that the Government would have actually made a formal offer of terms that he would

accept, as necessary to show prejudice in this context. Flood, 345 F. Supp. 3d at 613. As

Defendant acknowledges, he “filed a variety of discovery and suppression motions” while being

represented by Attorney Solomon, Mot. 7, indicating no intention of pleading guilty. It was not

until after these motions were argued and denied that Defendant decided to plead guilty. There is

no reason to believe that, after having to respond to these motions, the Government would have

made a formal offer to include such a favorable plea term as a 22-year limit on its sentencing

recommendation. Even if, before he filed motions, Defendant had been formally offered terms

that would limit the Government to recommending a 22-year prison term, Defendant cannot show

that he “would have accepted” such an offer before his motions were denied. Frye, 566 U.S. at

147. Without a showing of prejudice, Defendant’s claim of ineffective assistance must be denied.

       B. Defendant’s Claim that Attorney Lawlor Failed to Prepare for Trial and that
          Defendant Was Denied Counsel of Choice

       Defendant claims that, during meetings in the days preceding the rearraignment, Attorney

Lawlor “impressed on Mr. Byrd that going to trial would be highly disadvantageous not just

because of the significant evidence that the Government had compiled against the Defendant, but

because he failed to properly prepare for the impending trial where he would be required to cross-

examine and challenge the Government’s witnesses.” Mot. 10-11. Defendant claims further that




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“Attorney Lawlor’s failure to adequately prepare . . . affected the Defendant’s decision as to

whether or not to accept the Government’s plea bargain offer.” Mot. 12.

       On the same grounds, Defendant claims that he was denied counsel of his choice, Vandy

Jamison, Jr., who made an appearance in court in advance of Defendant’s rearraignment in an

effort to substitute himself for Attorney Lawlor as Defendant’s counsel. Defendant claims that

Attorney Jamison never formally entered his appearance due to the imminent trial date and lack of

time for him to prepare for Defendant’s trial. Mot. 15. Defendant recognizes the fact that the

Court had twice previously permitted Defendant substitution of counsel, and acknowledges the

need for the Court to adhere to orderly judicial procedure and to control the administration of his

criminal case. Mot. 16. Notwithstanding, Defendant complains that the trial should have been

postponed again to accommodate Attorney Jamison’s substitution of Attorney Lawlor and

preparation for trial. Mot. 16-17.

       In order to show prejudice in having entered a guilty plea, the criminal defendant must

demonstrate “a reasonable probability that, but for counsel’s errors, he would not have pleaded

guilty and would have insisted on going to trial.” United States v. Fugit, 703 F.3d 248, 259 (4th

Cir. 2012) (quoting Hill v. Lockhart, 474 U.S. 52, 59 (1985)). He must also “‘convince the court’

that such a decision ‘would have been rational under the circumstances.’” Id. at 260 (quoting

Padilla v. Kentucky, 559 U.S. 356, 372 (2010)). In other words, he must show that a decision to

proceed to trial “would have been objectively reasonable in light of all of the facts.” Id. His

subjective preferences are not dispositive. Id.

       Accepting as true Defendant’s allegations regarding Attorney Lawlor’s lack of preparation

for trial, Defendant fails to show either that he would have decided not to plead guilty had Attorney

Lawlor been adequately prepared for trial or that such a decision would have been rational. If



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Defendant would have opted to go the trial had Attorney Lawlor been prepared, that choice would

not have been rational in light of the evidence against Defendant and the significant benefits he

received in his plea agreement. The foremost benefit of Defendant’s plea agreement was the

parties’ stipulation to a sentence of 26 years of incarceration, which was significantly below the

sentencing guidelines range of 30 years to life imprisonment.

        The record demonstrates the large volume of evidence firmly establishing Defendant’s

guilt for each offense of which he was ultimately convicted. In the Motion to Vacate, Defendant

acknowledges that the evidence against him is “significant” (Mot. 10) and “substantial, and the

likelihood of conviction after trial quite high” (Mot. 13). This evidence includes the 2011 seizure

of over one million dollars from Defendant in Arizona; the July 2012 seizure of $372,000 from

Defendant and a lieutenant in his drug trafficking organization; and April 2013 seizures of 16

kilograms of cocaine and over 600 pounds of marijuana that were about to be shipped from Arizona

to Defendant’s Baltimore-based distributors, and over 10 kilograms of cocaine and approximately

350 pounds of marijuana from the Baltimore-based distributors. ECF 378 at 5-6.

        Given the weight of this evidence, if Defendant had chosen to proceed to trial, he would

have been convicted and without the benefit of a stipulated sentence below the sentencing

guidelines range. Had Defendant opted to go to trial rather than accept a plea agreement with a

stipulated sentence, he would have likely received a higher sentence. It would not have been

rational for Defendant to choose this outcome.       Thus, even accepting as true Defendant’s

statements about what Attorney Lawlor told him regarding Attorney’s Lawlor’s lack of preparation

for trial, Defendant cannot show that he was prejudiced by any lack of preparation and is not

entitled to relief on this issue.




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       Likewise, given the weight of the evidence and the beneficial terms of his plea agreement,

Defendant cannot show that he was prejudiced by the denial of his belated effort to substitute

counsel on the eve of trial. “The purpose of the Sixth Amendment guarantee of counsel is to ensure

that a defendant has the assistance necessary to justify reliance on the outcome of the proceeding.”

Strickland, 466 U.S. at 691–92 (emphasis added). “The Sixth Amendment guarantee of counsel

does not guarantee an ideal or perfect representation.” Mickens v. Taylor, 240 F.3d 348, 363 (4th

Cir. 2001) (en banc), aff'd, 535 U.S. 162 (2002). In the Motion to Vacate, Defendant acknowledges

that the Sixth Amendment guarantees only “a fair opportunity” to secure counsel of choice and

that “[t]his ‘fair opportunity’ . . . has limits.” Luis v. United States, 136 S. Ct. 1083, 1089 (2016)

(quoting Powell v. Alabama, 287 U.S. 45, 53 (1932)), cited in Mot. 16.              Defendant even

acknowledges that, based on the record before the Court, it was a proper exercise of the Court’s

“inherent power to control the administration of justice” and “orderly judicial procedure” for the

Court to deny his request for substitution of counsel. Mot. 16 (quoting United States v. Gallop,

838 F.2d 1024, 1025 (4th Cir. 1995) (en banc)). Defendant had more than two years before his

November 2016 trial date to secure counsel of his choice; this was far more than the “fair

opportunity” required by the Sixth Amendment. And there can be no doubt that the outcome of

this case was a reliable one, given the volume of evidence and the favorable below-guidelines

sentence Defendant received in this case.        Therefore, Defendant cannot show that he was

prejudiced by any lack of preparation for trial in his counsel, and the Motion to Vacate should be

denied on this issue.


       C. Conflicts of Interest

       Defendant also argues that his sentence should be vacated because both Attorneys Solomon

and Lawlor had conflicts of interest.

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       A claim of ineffective assistance based on a conflict of interest requires the defendant to

show that (1) “an actual conflict of interest” (2) “adversely affected his lawyer’s performance.”

United States v. Dehlinger, 740 F.3d 315, 322 (4th Cir. 2014) (quoting Cuyler v. Sullivan, 446

U.S. 335, 348 (1980)); United States v. Nicholson, 611 F.3d 191, 205 (4th Cir. 2010). “[T]he mere

‘possibility of conflict is insufficient to impugn a criminal conviction[.]’” Dehlinger, 740 F.3d at

322. To satisfy the first prong of the Sullivan test, the defendant “must show that his interests

diverged from his attorney’s with respect to a material factual or legal issue or to a course of

action.’” Stephens v. Branker, 570 F.3d 198, 209 (4th Cir. 2009) (quoting Gilbert v. Moore, 134

F.3d 642, 652 (4th Cir.1998) (en banc)) (internal brackets and quotation marks omitted). “But

even when an ‘actual conflict’ is shown, ‘an adverse effect is not presumed.’” Dehlinger, 740 F.3d

at 322 (citation omitted). “[T]he defendant must separately prove that the conflict adversely

affected his counsel’s performance[,]” which requires the defendant to satisfy the following three-

prong test:

               First, the [defendant] must identify a plausible alternative defense
               strategy or tactic that his defense counsel might have pursued.
               Second, the [defendant] must show that the alternative strategy or
               tactic was objectively reasonable under the facts of the case known
               to the attorney at the time of the attorney's tactical decision....
               Finally, the [defendant] must establish that the defense counsel's
               failure to pursue that strategy or tactic was linked to the actual
               conflict.

Id. (quoting Mickens, 240 F.3d at 361). The defendant must show both an actual conflict and an

adverse effect on counsel’s performance to obtain relief. Id. at 323.

       Defendant claims that both Attorneys Solomon and Lawlor had conflicts of interest when

they represented him.

       As to Attorney Solomon, Defendant states that, at some point during his representation of

Defendant, “Attorney Solomon boasted that he is going to celebrate when Mr. Byrd gets put away.”


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Mot. 8. If Attorney Solomon made such a careless boast, it would not suffice to show that he had

an actual interest in the outcome of Defendant’s case that was adverse Defendant’s interest.

Defendant must show an actual conflict of interest—“[m]ore than a mere possibility of a

conflict[.]” United States v. Tatum, 943 F.2d 370, 375 (4th Cir. 1991). Defendant acknowledges

that an attorney’s dislike of, or antipathy toward, his or her client is not sufficient to show an actual

conflict of interest. See Hale v. Gibson, 227 F.3d 1298, 1313 (10th Cir. 2000) (rejecting view that

“any time that counsel dislikes his or her client, the defendant could claim a conflict of interest”).

        Even if the boast by Attorney Solomon was sufficient to show an actual conflict of interest,

Defendant falls short of showing that this conflict had an adverse effect on Attorney Solomon’s

performance. The only potential impact of the purported conflict that is cited in the Motion to

Vacate is Attorney Solomon’s alleged failure to convey a plea offer to Defendant. Defendant

speculates that the conflict “may well be the reason why Attorney Solomon failed to apprise his

then-client of the plea bargain offer.” Mot. 9. This speculation is insufficient to show that the

alleged failure to present the plea offer was “linked to the actual conflict[,]” as required by the

third prong of the Mickens test. Establishing this causal link is critical to Defendant’s entitlement

to relief because it is necessary to show that the purported conflict of interest “actually affected

the adequacy of [counsel’s] representation.” Mickens, 240 F.3d at 361 (quoting Sullivan, 446 U.S.

at 349).

        As to Attorney Lawlor, Defendant points out the Government’s criminal investigation of

Kenneth Ravenell and states that “Attorney Lawlor used his representation of Mr. Byrd to aid Mr.

Kenneth W. Ravenell in Mr. Ravenell’s own legal problems.” Mot. 13. Defendant notes the

likelihood that the Government’s investigation of Ravenell is “related to the Government’s case

against the Defendant” and states that “[t]he Government may have been willing to offer Mr. Byrd



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a more advantageous plea agreement in exchange for [cooperation in its investigation of Mr.

Ravenell].” Mot. 13-14. Defendant claims that Attorney Lawlor did not advise him “of these

possibilities,” “took the position that Mr. Byrd’s and Mr. Ravenell’s interests are aligned rather

than in conflict,” and shared “strategy and confidential information” with Mr. Ravenell’s attorneys

“instead of advising Mr. Byrd on the best course of action for his case[.]” Mot. 14.

         Defendant acknowledges that Attorney Lawlor’s “sharing of the strategy and confidential

materials is not in and of itself prejudicial to Mr. Byrd” but is offered only as “evidence” of his

conflict. Mot. 14. Defendant cannot show any adverse effect the conflict had on Attorney

Lawlor’s performance and, therefore, is not entitled to relief on this issue.



   IV.      CONCLUSION

         For the foregoing reasons, the Government requests that the Court deny all grounds for

relief asserted in the Motion to Vacate. There is no need for a hearing in this matter because all

relevant facts are established by the record in this case.



                                               Respectfully submitted,

                                                 Robert K. Hur
                                                 United States Attorney

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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of March, 2020, a copy of the foregoing

Opposition to the Motion to Vacate Sentence Pursuant to 28 U.S.C. § 2255 was filed via CM/ECF

with service to counsel for the defendant.




                                                  _____/s/___________________________
                                                  MATTHEW J. MADDOX
                                                  ASSISTANT U.S. ATTORNEY




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